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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION

 LAWRENCE STANFILL EL,                                    Case No.: 3:21-cv-554
     Plaintiff,
                                                          COMPLAINT
                v.                                        Personal Injury Action (28 U.S.C. §
                                                          1332)
 UNITED STATES OF AMERICA,
      Defendants.                                         Prayer Amount: $200,000



       COMES NOW Lawrence Stanfill El (hereinafter Plaintiff), by counsel, for his claims

and causes of action against the United States of America (hereinafter “Defendants”), complains

and alleges as follows:

                                       INTRODUCTION

       This is an action against the Defendants under the Federal Tort Claims Act, 28 U.S.C.

§2671, et seq. and 28 U.S.C. §1346(b)(1), for professional malpractice in connection with the

medical care provided to Plaintiff by the Department of Veterans Affairs at the Portland Veterans

Affairs Medical Center.




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        The claims herein are brought against the Defendants pursuant to the Federal Tort Claims

Act (28 U.S.C. §2671, et seq.) and 28 U.S.C. §1346(b)(l), for money damages as compensation

for personal injuries caused by the Defendant's negligence.

        Plaintiff has fully complied with the provisions of 28 U.S.C. §2675 of the Federal Tort

Claims Act. Standard Form 95 is attached as Exhibit 11.

        These claims have been timely filed. Plaintiff timely served notice of his claims on the

appropriate agency, the Department of Veterans Affairs, less than two years after the incident

forming the basis of this suit.

        Plaintiff is now filing this Complaint pursuant to 28 U.S.C. § 2401(b) after receiving the

Department of Veterans Affairs' October 14, 2020 notice of final denial of administrative claim.

Administrative Tort Claim Denial Letter attached as Exhibit 2. This complaint has been filed

within six months of that denial.

                                     JURISDICTION AND VENUE

        Jurisdiction is proper under 28 U.S.C. §1346(b)(l) and 28 U.S.C. §1332. Plaintiff

exhausted his remedies through the Federal Tort Claims procedure and brings this lawsuit within

six months therefrom. Venue is proper under 28 U.S.C. §1391 because the events at issue

occurred in Multnomah County, Oregon.

                                               THE PARTIES

                                                         1.
        Plaintiff is, and at all times relevant hereto was, a resident of Clark County, Washington.

Plaintiff is a veteran of the United States Navy.




1
 Please note that Exhibit 1 includes only the two-page form 95 filing. Plaintiff attached a great number of
documents with form 95 such that it would have been a problem to include them here. These attachments are
available upon request.


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                                                   2.
       Defendants United States of America, through its agency, the Department of Veterans

Affairs, operates the Portland Veterans Affairs Medical Center located at 3710 SW US Veterans

Hospital Rd, Portland, OR 97239.

                                  RESPONDEAT SUPERIOR

                                                   3.
       At all times relevant to this case, the directors, officers, operators, administrators,

employees, agents, staff, nurses, and doctors were employed by and/or acting on behalf of the

Portland Veterans Affairs Medical Center.

                                                   4.
       At all times relevant to this case, the directors, officers, operators, administrators,

employees, agents, staff, nurses, and doctors acted within their respective capacities and scopes

of employment for the Portland Veterans Affairs Medical Center.

                                                   5.
       The Portland Veterans Affairs Medical Center is part of the Veterans Administration, an

agency of the United States of America. Defendants, United States of America, is responsible

for the negligent acts of their employees and agents under respondeat superior.

                                  FACTUAL ALLEGATIONS

                                                   6.
       Plaintiff is a veteran; he served our country in the Navy from September 24, 2006 April

7, 2010. Plaintiff suffered injuries during his service and has been determined to be 100%

service connected disabled as a result.

                                                   7.
       On June 15, 2018 Plaintiff was attacked at the Lloyd Center in Portland. We was

knocked to the ground and hit in his head and face. Plaintiff went to the Portland VA hospital


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for treatment for this injuries. He was treated by nurses Lucas Callahan and Lorraine Anger, as

well as Dr. Hannah Wolfer.

                                                  8.
       He suffered a laceration and bruising to his face. These injuries were treated in the

emergency department. He also suffered injuries to his left shoulder, a traumatic posterior

dislocation that were not treated or addressed by the Portland VA; this failure to treat his injured

shoulder is the basis of this claim.

                                                  9.
       While in the emergency department Plaintiff complained of pain in his left shoulder as a

result of the attack. He had intended to have his shoulder evaluated and treated but this was not

done and he was released without treatment. He felt that his shoulder was displaced but it was

not examined and no x-ray was ordered.

                                                  10.
       In June of 2018, Plaintiff was still under treatment for a previous car accident by Dr. Cara

Olsen, Olsen Chiropractic Offices (also referred to in the records as Just For The Health of It or

JFTHOI). The pain in his shoulder did not go away and so he complained of it to Dr. Olsen and

her team. Dr. Olsen’s records from June 20, 2018 forward include detail on the pain and

limitations with Plaintiff’s left shoulder. Despite treatment and physical therapy the injury did

not recover.

                                                  11.
       Plaintiff attempted to inform the Portland VA Hospital and his primary care physician Dr.

Rean Goelst of the issue. The records of these communication shows that the Portland VA did

not take Plaintiff seriously and did not respond to him with patient centered care. On August 25,

2018 Plaintiff was at the Fairview clinic and had the police called on him in a racially motivated




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way (Plaintiff is a black man). When Plaintiff attempted to contact the Portland VA in October

of 2018 related to the ongoing shoulder issues he again experienced communication problems

with the VA. He expressed that the emergency department did not treat his shoulder in June, that

the VA was making communication difficult in a similar way to how they did when the police

were called, and that he was in need of treatment. The notes from VA staff in October of 2018 in

relation to these calls show that he was not treated with respect.

                                                  12.
       In Plaintiff’s treatment records on this issue, VA staff writes that Plaintiff, “ranted on

about his visit to the clinic for a ROI and that the police were called on him and felt it was

racially motivated by the female clerk at the front desk”. (Emphasis added). There is a

miscommunication as well. At the time, Plaintiff requested a refill of pain medication for his

back. VA staff thought Plaintiff was requesting the medication for his left shoulder and denied

the medication request as a result. This miscommunication was upsetting to Plaintiff as he had

already experienced months of pain and miscommunications with the VA related to the failure to

treat his shoulder. VA staff dedicate much of the record on this issue to insisting that they were

correct. In describing Plaintiff’s position on his past experience having the police unreasonably

called on him and his insistence that he informed emergency department staff of his shoulder

injuries, VA staff RN Lisa Prado writes that Plaintiff is “perseverating” on these issues.

                                                  13.
       The word ‘rant’ is commonly used, and seemingly used here, to describe a statement or

speech that has gone on too long or has been presented too forcefully or was in some other way

improper. ‘Perseverating’, is a term commonly used in psychiatry, and seemingly used here, to

describe a patients mentally unhealthy focus on an issue or circumstance; patient’s with

obsessive compulsive disorder are described as perseverating on the behaviors that they are



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compelled to take. Neither of these terms is ever used in any positive context. They are used to

denote unhealthy communication and thought. Here, the VA staff determined that a patient and

veteran complaining of racial profiling and not being treated for a significant injury to be

“ranting” and “perseverating”. In the larger scheme of things, this is a small example but one

illustrates and typifies Plaintiff’s treatment experience with the VA.

                                                  14.
       Eventually, an x-ray and MRI of Plaintiff’s left shoulder was ordered. The MRI found,

“unstable type A os acromiale with associated marrow edema, mild rotator cuff tendinosis

without tear, intra-articular biceps tendinosis, and early degenerative subchondral cyst in the

posterior glenoid”. An Orthopedic surgery consult was ordered but they recommended six

weeks of physical therapy before considering surgery. As previously mentioned, Plaintiff had

informed Dr. Olsen, his chiropractor, of the shoulder issue in June and had already been

attempting physical therapy and treatment for that issue for much longer than six weeks.

                                                  15.
       Plaintiff continued physical therapy for many more weeks until ultimately having surgery

on his shoulder on May 13, 2019. Dr. Jesse McCarron preformed a posterior capsule labral

repair. Plaintiff has regained some of the strength and use of his left shoulder but it remains

limited and scarred.

                                     CLAIM FOR RELIEF

                               Negligence (Medical Malpractice)

                                                  16.
       Plaintiff incorporates paragraphs 1 - 15 as set forth above.

                                                  17.




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       The Defendants had a duty to provide medical care and to provide that care at a level at

which the average, prudent provider in the community would practice. Plaintiff alleges that

Defendants breached that duty as it related to his treatment when presenting to the emergency

room immediately following the injury (¶ 7-8) and further breached that duty in their

communications with him which further delayed his treatment (¶ 10-12).

                                                  18.
       As a direct, foreseeable, and proximate result of Defendants’ negligence in treating

Plaintiff he experienced months of pain in his shoulder and mental trauma therefrom. As a

direct, foreseeable, and proximate result of Defendants’ negligence in communicating with

Plaintiff Defendants caused further delay in Plaintiff’s treatment and subjected him to racial

prejudice in front of his daughter which caused severe mental trauma. As a result of the

Defendant’s actions Plaintiff has lost the VA as a trustable resource and his future health is

compromised as a result. Plaintiff seeks $200,000 in noneconomic damages.

                                                  19.
       The acts and/or omissions set forth above would constitute a claim under the law of the

State of Oregon.

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                                           PRAYER

      WHEREFORE, Plaintiff prays judgment against the Defendants as follows:

   1. Noneconomic Damages:

          a. in an amount to be proven at trial but not to exceed $200,000.00.

   2. For Plaintiff’s costs, fees, and disbursements herein;

   3. For such other and further relief as the court may deem proper.

DATED: April 13, 2021

                                                    s/ Greg Claessens
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                                                    OSB #133263
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                                                    Attorney for Plaintiff, Lawrence Stanfill El




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